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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
JANSSEN BIOTECH, INC.,                    )
                        Plaintiff,        )
                                          )
                  v.                      ) Civil Action No. 1:17-cv-11008-MLW
                                          )
CELLTRION HEALTHCARE CO., LTD.,           ) CONFIDENTIAL –
CELLTRION, INC., and                      ) FILED UNDER SEAL
HOSPIRA, INC.,                            )
                        Defendants.       )
_________________________________________ )


   DEFENDANTS’ RESPONSE TO PLAINTIFFS’ COUNTERSTATEMENT OF
  MATERIAL FACTS IN SUPPORT OF THEIR OPPOSITION TO DEFENDANTS’
 MOTION FOR MOTION FOR PARTIAL SUMMARY JUDGMENT THAT THERE
 WERE AVAILABLE AND ACCEPTABLE NON-INFRINGING ALTERNATIVES TO
                      THE ASSERTED PATENT




                    FILED UNDER SEAL
